TABLE OF EXHIBITS
for

Plaintiffs’ response in opposition to defendants’ motion to enforce settlement

Exhibit Label Description
A Plaintiff's signature version without defense signature(Originally Filed as document 13-6)
B Altered signature version from defense (Sent to plaintiff via UPS w/ cash and check)
Cc Document with impossible future dates
D Email acknowledging Rule 11 Safe Harbor and settlement threat
El Email from defense: 'most of your changes included’; warns filing voids offer
B2 Defense's revised draft with unresolved release language
Fl Email thread with former attorney
F2 Email where attorney says Plaintiff refuses to sign and he withdraws
F3 General objections to the draft agreement
Gl Emails regarding REDA claim
G2 Follow-up REDA communication
G3 Unemployment hearing-related emails
G4 Additional REDA and unemployment discussions
Hi Page 12 of Workers' Comp agreement
H2 Page 13 of Workers' Comp agreement
H3 Page 14 of Workers' Comp agreement
i Unemployment record showing contradiction
[2 Unemployment documentation
13 More unemployment documentation
4 Further unemployment evidence
15 case-related email or form
16 Final unemployment evidence document

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TABLE OF EXHIBITS
for
Plaintiffs’ response in opposition to defendants’ motion to enforce settlement

Exhibit Label Description

J Rule 11 Safe Harbor notice and cover letter

K Page three of Court filed document 17 by defense

L Page one of proposed and rejected separation agreement and release of claims

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